          Case 4:19-cr-00110-BSM Document 1 Filed 03/06/19 Page 1 of 3                    FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS                      JAMES W. McCLHUC;t{
                                                                               By: _ _ _-++-lf--:r.::,~.,,,..,.....
UNITED STATES OF AMERICA                     )       No.4:19CR00((O~
                                             )
v.                                           )
                                             )       21 U.S.C. § 841(a)(l)
JOSHUA WAYNE HATLEY                          )       18 U.S.C. § 924(c)(l)(A)



                                         INDICTMENT

THE GRAND JURY CHARGES THAT:


                                            COUNTl

       On or about March 4, 201 7, in the Eastern District of Arkansas, the defendant,

                                 JOSHUA WAYNE HATLEY,

knowingly and intentionally-possessed with intent to distribute less than fifty (50) kilograms of

marijuana, a Schedule I controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(D).



                                           COUNT2

       On or about March 4, 2017, in the Eastern District of Arkansas, the defendant,

                                 JOSHUA WAYNE HATLEY,

knowingly arid intentionally possessed with intent to distribute 50 grams or more of

methamphetamine (actual), a Schedule I controlled substance, in violation of Title 21, United

States Code, Sections 84l(a)(l) and 841(b)(l)(A).



                                           COUNT3

       On or about March 9, 2017, in the Eastern District of Arkansas, the defendant,


                                                    1
           Case 4:19-cr-00110-BSM Document 1 Filed 03/06/19 Page 2 of 3


                                     JOSHUA WAYNE HATLEY,

knowingly and intentionally possessed with intent to distribute less than fifty (50) kilograms of

marijuana, a Schedule I controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(D).



                                               COUNT4

        On or about March 9, 2017, in the Eastern District of Arkansas, the defendant,

                                    JOSHUA WAYNE HATLEY,,

knowingly and intentionally possessed a firearm, that is: a Smith & Wesson, .38 Special

handgun, Model Bodyguard, bearing serial number CWX0751 in furtherance ofa drug

trafficking crime prosecutable in a court of the United States, that is: a violation of Title 21,

United States Code, Section 84l(a)(l), as set forth in Count 3 of this h),dictment.

        All in violation of Title 18, United States Code, Section 924(c)(l)(A).



                                     FORFEITURE ALLEGATION 1

        Upon conviction of Counts 1, 2, or 3 of this Indictment, the defendant, JOSHUA

WAYNE HATLEY, shall forfeit to the United States, under Title 21, United States Code,

Section 853(a)(l), all property constituting, or derived from, any proceeds the person obtained,

directly or indirectly, as a result of the offense.



                                 FORFEITURE ALLEGATION 2

        Upon conviction of Count 1, 2, or 3 of this Indictment, the defendant JOSHUA WAYNE

HATLEY, shall forfeit to the United States, under Title 21, United States Code, Section




                                                      2
          Case 4:19-cr-00110-BSM Document 1 Filed 03/06/19 Page 3 of 3


853(a)(2), all of the person's property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the offense.



                               FORFEITURE ALLEGATION 3

       Upon conviction of Count 1, 2, or 3 of this Indictment, the defendant, JOSHUA WAYNE

HATLEY shall forfeit to the United States, under Title 18, United States Code, Section 924(d),

Title 21, United States Code, Section 853, and Title 28, United States Code, Section 2461(c), all

firearms and ammunition involved in the commission of the offense, including, but not limited

to, the following specific property: a Smith & Wesson, .38 Special handgun, Model Bodyguard,

bearing serial number CWX.0751.




                                                    3
